UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

SHAW-NAE DIXON, THOMAS CASATELLI,
JEANETTE RIVERA, NATALIA YAKUBOVA,
CHRIS KING, ALISON MARCHESE, on behalf
of AM, JM, and MMV (her minor children),
WILLIAM MORRIS, GEORGE KABBEZ,
MARY JOSEPHINE GENEROSO, SHAW-
NAE’S HOUSE, LLC, SALTY DOG
RESTAURANT, LTD, PER TAVERN CORP.
d/b/a THE KETTLE BLACK, CARGOSTORE
PARTIES, INC. d/b/a DO ME A FAVOR, and
INDEPENDENT RESTAURANT OWNERS
ASSOCIATION RESCUE, INC.,

Plaintiffs,

BILL DE BLASIO, in his official capacity as
Mayor of the City of New York, and THE CITY
OF NEW YORK,

Defendants.

Civil Action No. -CV-- -

VERIFIED COMPLAINT
AND JURY DEMAND

The plaintiffs, by and through their attorneys, Weiner Law Group LLP, with knowledge of

their own acts, and upon information and belief as to all others, complain of defendants as follows:

STATEMENT OF THE CASE

i. This action seeks declaratory, imjunctive and other relief against defendants,

including, but not limited to, attorneys’ fees and costs, for their violations of the plaintiffs’

fundamental rights, without limitation, under the First, Fifth, Thirteenth, and Fourteenth

Amendments of the United States Constitution, including also the taking of their personal and

professional property, arising out of defendants’ actions, committed under color of State law, in

promulgating and threatening enforcement of defendant Bill de Blasio’s Emergency Executive
Order 225, promulgated August 16, 2021, and effective September 13, 2021, together with
subsequent related Emergency Executive Orders 226 and 228 (collectively, the “EEO” or
“EEOs”).

2. The enforcement of the EEOs would cause immediate and irreparable harm to the
plaintiffs, including, but not limited to, deprivation of their rights to life and bodily health, their
rights to the free exercise of religion, their rights to be free from racial discrimination, their rights
to direct the upbringing of their children, their rights to freedom of association, their rights to hold
specific private employment and follow a chosen profession, their rights not to serve as indentured
servants, their rights not to suffer takings without just compensation, and their rights to be free
from compulsorily discriminating against others as agents of State actors.

3. The plaintiffs are individuals, restaurants, a gym, restaurant owners, restaurant
patrons, gym owners, and gym patrons, parents of minors, a restaurant employee, and an
incorporated association of independent restaurants seeking an injunction and temporary restraints
against enforcement of EEOs 225, 226, and 228, issued by New York City Mayor Bill de Blasio
on August 16, 2021, August 20, 2021, and August 25, 2021 respectively. The EEQs violate the
plaintiffs’ fundamental rights under the United States Constitution.

4, The violations of such constitutional rights, and other rights for which redress is
sought herein, will cause irreparable harm to the plaintiffs begimming September 13, 2021, such
that a Temporary Restraining Order should be issued to block enforcement of the EEO, pending
issuance of a final injunction.

5. Finally, the Mayor lacks authority to promulgate and enforce the EEO under the

laws of the State of New York, and the purported State of Emergency within the City no longer
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exists. Further, the plaintiffs assert that as a matter of constitutional law under the Privileges and
Immunities Clause of the Fourteenth Amendment of the United States Constitution, and/or the Due
Process Clause and/or the Equal Protection Clause thereof, any and alli further acts by the Mayor
in furtherance of promulgating Emergency Executive Orders, or enforcing existing such COVID-
19 related EEQOs, arising out of the State of Emergency declared in EEO 98, dated March 12, 2020,

are unenforceable and void.

THE PARTIES
6. Shaw-Naé Dixon is an individual with an address of 91 Dubois Avenue, Staten
Island, New York 10310.
7. Thomas Casatelli is in individual with an address of 485 Davis Avenue, Staten

Island, New York 10310.
8. Jeanette Rivera is an individual with an address of 943 Gothels Road North, Staten

Island, New York 10303.

9, Chris King is an individual with an address of 27 Tenth Street, Staten Island, New
York 10306.
10. Alison Marchese is an individual living on Staten Island, New York, and is bringing

a claim on behalf of her three minor children, AM, JM, and MMV.

11. William Morris is an individual with an address of 164 Springfield Avenue, Staten
Island, New York 10314.

12. George Kabbez is an individual with an address of 7509 Third Avenue, Brooklyn,
New York 11209.

13. Mary Josephine Generoso is an individual with an address of 1151 82nd Street,

Brooklyn, New York 11228.
14. Shaw-Naée’s House, LLC is a New York limited lability company, with an address
of 381 Van Duzer Street, Staten Island, New York 10304.

15. Salty Dog Restaurant, LTD is a New York S corporation, with an address of 7509
Third Avenue, Brooklyn, New York 11209,

16. Per Tavern Corp. d/b/a The Kettle Black is a New York corporation, with an
address of 8622 Third Avenue, Brooklyn, New York 11209,

17, Cargostork Parties, Inc. d/b/a Do Me A Favor is a New York corporation, with an
address of 126 Fingerboard Road, Staten Island, New York 10305.

18, Independent Restaurant Owners Association Rescue, Inc. (““IROAR”), is a
509(c)(3) corporation, with an address of 7324 Amboy Road, Staten Island, New York 10307.

19. Bill de Blasio (“Mayor”) is the Mayor of the City of New York, and is a State actor.

20. The City of New York (“City”) is an incorporated City of the State of New York,
and is a State actor.

21. ‘At all times pertinent, the Mayor and the City were State actors operating under
color of law.

JURISDICTION AND VENUE

22. ‘The plaintiffs’ claims are brought pursuant to 42 U.S.C. § 1983 and 28 USC §§
2201-02, as they arise from violations of the United States Constitution and seek declaratory and
other relief, such that jurisdiction is appropriate, pursuant to 28 U.S.C. §§ 1331 and 1343,

23. Supplemental jurisdiction is appropriate for claims not arising under the
Constitution and laws of the United States, pursuant to 28 U.S.C. § 1367, because they are related

to the federal claims within the meaning of that statute.
24. All plaintiffs reside in the Eastern District of New York, and a substantial part of
the events or omissions giving rise to the claims occurred, and a substantial part of the property
that is subject of the action is situated, in the Eastern District of New York, such that venue is
appropriate, pursuant to 28 U.S.C. § 1391(b)(1) and (2).

FACT ALLEGATIONS

25, True and complete copies of EEO 225, EEO 226, and EEO 228, are attached hereto
as Exhibits A, B, and C, and are incorporated herein by reference. EEO 98, dated March 12,
2020, is attached hereto as Exhibit D.

A. The Critical Provisions of the EEO.

26. Section 1 of EEO 225 provides, in pertinent part, that “a covered entity” (which
means, without limitation, the indoor portions of most commercial establishments, including
restaurants and gyms) “shall not permit a patron, full- or part-time employee, intern, volunteer, or
contractor to enter a covered premises without displaying proof of vaccination and identification
bearing the same identifying information as the proof of vaccination.”

27. Section 2 of EEO 225 exempts nonresident performing artists and professional
athletes/sports teams who are not regularly employed in the covered entity, while they are on the
covered premises.

28. Section 6 of EEO 225 provides, in pertinent part, that in “each instance that a
covered entity fails to check an individual’s vaccination status shall constitute a separate violation
of this Order.”

29. Section 9 of EEO 225 provides, in pertinent part, “that any person or entity who is
determined to have violated this Order shall be subject to a fine, penalty and forfeiture of not less

than $1,000. If the person or entity is determined to have committed a subsequent violation of this

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Order within twelve months of the initial violation for which a penalty was assessed, such person
or entity shall be subject to a fine, penalty and forfeiture of not less than $2,000. For every violation
thereafter, such person or entity shall be subject to a fine, penalty and forfeiture of not less than
$5,000 if the person or entity committed the violation within twelve months of the violation for
which the second penalty was assessed.”

B. The “Emergency”.

30. The EEOs ostensibly arise from a declared COVID-19 emergency in the City of
New York (“City”).

31. The Emergency was originally declared by the Mayor in EEO 98, dated March 12,
2020, at a time when the origin, associated dangers, and manner to control the coronavirus were
all greatly unknown, and cases were precipitously rising to dangers levels such that the health and
welfare of the entire City community was perceived to be in jeopardy and at risk.

32. At the present time, the origin and manifestations of the coronavirus are becoming
clearer, the associated dangers of the coronavirus--like most other illnesses--are now well-known,
and cases continue to fall to levels infinitesimally smaller than the levels that existed at the time
and in the immediate aftermath of EEO 98 being promulgated.

33, Since March 12, 2020, and its immediate aftermath in the following few months,
the number of deaths and hospitalizations has dropped precipitously. COVID-related

hospitalizations in the City, per https:/AwwwlLnyc.gov/site/doh/covid/covid-19-data-

trends.page#epicurve, peaked on or around March 30, 2020, at around 1,850 daily hospitalizations-

-a truly substantial and alarming number at the time. The number of daily deaths peaked at slightly
above 800 in the first week of April 2020--which unquestionably was a level of daily deaths caused

by a single disease, that had not been seen for at least a century in the City.
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34. It has since been iearned that most COVID deaths in the City (and New York State
overall) in the Spring of 2020 resulted from a since-decried March 2020 Executive Order of
Governor Andrew M. Cuomo, which required nursing homes to take in known COVID infected
patients among the most vulnerable population of extremely elderly and those with co-morbidities.
Thus, between March 25 and May 8, 2020, approximately 6,326 COVID-positive patients were

admitted to nursing homes, according to a state health department report, as revised, dated

February 11, 2021. (https://Avwww.health.ny.gov/press/releases/2020/docs/nh factors report.pdf).
35. Unsurprisingly, the number of COVID-related hospitalizations and deaths in the
City dropped precipitously once said official policy was rescinded.
36. As of September 10, 2021, the seven-day average of COVID-19 positive tests
(approximately 3.5%), total confirmed cases (1,135), probable cases (311), hospitalizations (65),

and confirmed deaths (8), was on a downward trend. (https://www nyc. gov/site/doh/covid/covid-

19-data.page)

C. The Already-Vaccinated Have Nothing to Fear, Such that the EEO Merely Is a
Coercive Measure by the Mayor to Effect His Failed Policy Preferences in Violation
of the Fundamental Constitutional Property and Liberty Interests of the
Unvaccinated

37. Vaccinated individuals have very little to fear with respect to COVID-19, if
defendants are correct in innumerable pronouncements and/or admissions they have made and/or
expressly adopted.

38. More specifically, the preamble to EEO 225 provides, in pertinent part, “between
January 1, 2021, and June 15, 2021, over 98% of hospitalization and deaths from COVID-19

infection involved those who were not fully vaccinated.”
39. _Extrapolating such numbers, of the 65 current COVID-19 hospitalizations, only
between 1 and 2 should be of a vaccinated individual.

40. Despite the minuscule risk of serious infection to vaccinated individuals, EEO 225
employs measures to coerce unvaccinated individuals to ‘protect’ themselves from other
unvaccinated persons, under the essential premise that the unvaccinated are presumed to be sick
and diseased, and that they will spread COVID-19 to one another, such that City hospitals and
morgues will be littered with the bodies of the unvaccinated. Such premise is false, based on the
City’s own health statistics.

41. A reasonable inference can be drawn that the overwhelming majority of people who
live in the City are aware of their ability to get vaccinated against COVID-19 easily, and at no
cost. Indeed, the City has expended over $125 million in advertising, most prominently directed
at communities with a majority of minority residents, to promote getting vaccinated given the
members of such communities’ perceived “vaccine hesitancy”.

42. EEO 225 notes that “56% of City residents are fully vaccinated and 62% of
residents have received at least one dose, and mandating vaccinations at the types of establishments
that residents frequent will incentivize vaccinations, increasing the City’s vaccination rates and
saving lives.”

43. Thus, a full 38% of City residents have chosen to exercise their liberty not to get
even a single vaccine shot, and a full 44% of City residents are not fully vaccmated--all at a time
when positive tests, total cases, hospitalizations, and deaths, are dropping. Despite that, the
draconian infringements on such liberties of EEOs 225, 226, and 228 are being enforced so that
they will impair the fundamental rights of Plaintiffs and many others, will crush businesses in the

City, will cause massive employment losses, and will cause major harm and disruption to life in

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the City for all people, especially in some of its most at-risk and underserved communities, such
as the Autism spectrum community and minority communities. Such crushing of constitutional
normalcy and liberty is occurring during what is a period of declining risk, even among the
unvaccinated, per the City’s own statistics, for the reason that the Mayor wishes to “incentivize
vaccinations, increasing the City’s vaccination rates and saving lives”, but without even the
slightest accommodation for plaintiffs’ fundamental rights.

D. The EEOs Institutionalizes Discrimination Purposely Aimed at the Fundamental
Constitutional Liberties of African-Americans and Other Minorities.

44. The EEOs are purposely directed to have the most significant impact on the
fundamental constitutional rights of members of minority communities, most particularly African-
Americans, but also Hispanics.

45. Whereas 56% of City residents are fully vaccinated, and 62% have received at least
one dose--meaning they will not be subject to the restrictions imposed by the EEO--the Mayor
knows that African-American residents will suffer in much greater percentages, thus making
the EEO purposely discriminatory against suspect classes of the City’s residents, without
compelling reason, and without the narrow tailoring required by constitutional law.

46. | Even beyond legal and constitutional protections for African-Americans that are
being disregarded by defendants, on March 23, 2021 the Mayor announced a Racial Justice
Commission because, in his words, "We've never had a mode! for actually addressing structural
racism, institutional racism, identifying it, acknowledging it, formally apologizing for it, weeding
it out, eradicating it, making the policy changes, changing the laws, doing the things that will
actually have a lasting impact". Yet with his EEOs 225, 226, 228, Mayor de Blasio is actually and

openly creating structural and institutional racism against African-Americans and Hispanics.
47, | Many African-Americans, who justifiably have long memories of being used as
guinea pigs with a pernicious syphilis experiment beginning in 1934, known as the “Tuskegee

experiment”, (see http://richmondfreepress.com/news/2021 /jan/07/we-were-medical-guinea-pigs-

julianne-malveaux/), are very clear that they will not again be used as guinea pigs for largely

unproven and untested vaccines--especially relative to other vaccines which took years to develop
before being used among the general population--without knowing their long-term effects. (See

https:/Avww.nytimes.com/2020/10/07/health/coronavirus-vaccine-trials-african-americans. html.)

48. Since January 31, 2021, the Mayor has primarily targeted minority communities
with advertising aimed at eliminating “vaccine hesitancy” in those communities. The Mayor’s
effort largely has failed, not from lack of trying, but because a substantial majority of minority
residents, most particularly African-Americans, do not want to take the vaccine. Thus, the Mayor
is now attempting to force those who disagree with his vaccine policy to fall into line via his
coercive EEO, in violation of their constitutional liberty interests.

49. As the Mayor knows, the City’s most recent data reveals that only 36% of African-
Americans are fully vaccinated, and only 42% have received at least one shot. (See

https:/Awww 1 nyc. gov/site/doh/covid/covid-19-data-vaccines.page#people.)}

50. Similarly, Latino/Hispanic residents also are vaccinated at rates below the City’s
average. (Id.)

51. Perhaps most shocking is that the Mayor does not confront or express the truth
about his EEOs--which is that he specifically designed them with knowledge that his policy of
seeking to convince African-American and Hispanics to get vaccinated at much higher rates has

failed--such that now he will use his putative emergency powers to create misery for tens of

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thousands of City residents who belong to such suspect classes, so as to coerce them into yielding
to his desired outcome.

52. Under the circumstances, the violations of the constitutional rights of the plaintiffs,
and all other City residents, by the State actor defendants, under color of law, are knowing and
shocking, will cause irreparable harm, and cannot be permitted.

E. The EEO Crushes Fundamental Constitutional Rights.

53. The preamble of EEO 225 recognizes that there are those “who are ineligible for
the vaccine, due to age, health or other conditions.”

54. Yet the EEO makes no exemptions from its burdens for those who are ineligible for
the vaccine, due to age, health or other conditions.

55. The EEO also makes no exemptions from its burdens for people who have sincerely
held religious beliefs that caused them not to take the vaccine.

56. The EEO also has no exemptions from its burdens for individuals who have natural
immunity from COVID-19, which a new, peer-reviewed study, shows to be in excess of 13 times
more effective in protecting against COVID-19 than being vaccinated. (See

https://www.medrxiv.org/content/10.1101/2021.08.24.21262415v1.)

57. The EEO, in its preamble, notes that “indoor entertainment, recreation, dining and
fitness settings generally involve groups of unassociated people interacting for a substantial period
of time and requiring vaccination for all individuals in these areas, including workers, will protect
the public health, promote public safety and save the lives of those, not just those vaccinated

individuals, but the public at large.”

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58. | Despite same, the EEO provides exceptions from its burdens for “a non-resident
performing artist not regularly employed by the covered entity while they are in a covered premises
for purposes of performing.”

59. Further, despite same, the EEO also provides an exemption for “a non-resident
professional athlete/sports team, who enters a covered premises as part of their regular
employment for purposes of competing.”

60. Despite such exceptions for athletes and entertainers in the EEO, no exceptions are
made for any other individual or group that may or may not be infected with COVID-19, despite
such individual’s and/or group’s activities being of greater importance and lower risk than the
activities of athletes and entertainers, such that the exemptions appear to be designed as irrational
“bread and circus” measures to allow those whose constitutional rights are being violated to be
distracted from the onerous restrictions of EEO 225.

61. Indeed, the EEO facially--falsely--presumes that all unvaccinated people are sick,
and/or have a communicable disease, which makes them a danger to society such that they must
be denied access to most indoor commercial venues (not hotels and banks), at a time when weather
naturally will be getting colder, and the restrictions will therefore be much more burdensome.

62. The EEO provides no exception for parents who do not want their 12-17-year-old
children to be vaccinated for any reason, but rather discriminates against the age 12 to 17 class
based upon their being unvaccinated. Based on the City’s latest data, only 20% of such class of
children has received at least one shot, and 16% are fully vaccinated. Thus, a full 80% of children
aged 12-17 wili be barred by the Mayor from entering most City commercial establishments unless
their parents yield to the Mayor’s coercive EEO, and cause their children to be vaccinated, against

the parents’ better judgment in the exercise of their constitutionally-protected parental rights.

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63. The EEO essentially deprives the City’s citizens, and those visiting the City from
outside of the City (including patrons of plaintiff's business establishments), of the enjoyment
associated with liberty of the pursuit of happiness, by forcibly compelling people to inject
something into their bodies that they may not want, may not need, may cause itreparable physical
harm, or may not survive, at the cost of being cast out of virtually all indoor commercial activity.

64. The EEOs have turned the lack of a vaccine card into the modern-day scarlet letter,
gold star, and pink triangle, within the City; as Mayor de Blasio’s executive fiat not only permits,
but compels under penalty of crushing fines, an open season to discriminate against those without
a vaccine card, thus making the unvaccinated second-class citizens. Such actions constitute gross
overreaching and deprivation of fundamental constitutional rights by a single person--not even by
a Legislature--whose despotic acts are dangerous to the proper functioning of a free society.

65, | The EEO even places high-risk populations--those at high risk of death or other
serious health consequence if they take the vaccine--in the bind of having to decide whether to
take a potential life-risking vaccine, or to forfeit a normal life. This causes a government-created
danger for many of such individuals (including certain of the plaintiffs), both objectively and as to
their right to self-determine what is safest for themselves, based on their own specific health
characteristics as determined by their own self-evaluation arising from their fundamental
constitutional liberty interest in so doing.

66. Asof September 7, 2021, the Centers for Disease Control (‘CDC”) has reportedly
received: (A) 7,439 reports of death among people who received the COVID-19 vaccine; (B) 1,404
reports of myocarditis or pericarditis among people ages 30 and younger, who received the
COVID-19 vaccine--most of which cases arose from the mRNA vaccines from Pfizer and

Moderna; and (C) 45 confirmed reports of people--mainly women under 50--who developed
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Thrombosis with thrombacytopenia syndrome (TTS). (See https://covid.cde.gov/covid-data-

tracker/#datatracker-home). Women (https:/Awww.nytimes.com/202 1/03/08/health/vaccine-side-

effects-women-men.html) and individuals with a documented history of allergies or allergic

reactions, “or a history of anaphylaxis,” also have a greater risk of anaphylactic shock, (See

https:/Avww.cdc.gov/mmwr/volumes/70/wr/mm7002e1 .btm), and thus have enhanced reasons to

decide this issue for themselves and/or with their private physicians.

67. Each individual has a fundamental constitutional liberty interest in bodily integrity,
which allows all such individuals to balance the relative risks of the health choices they are
constitutionally entitled to make, against the potential reward of taking such risks, especially
absent a compelling and supportable State conclusion of a clear danger posed by such individuals
to the public.

68. Consequently, while defendants may believe it to be desirable for individuals to
‘protect’ themselves from COVID-19 by keeping them outdoors, even in the coldest weather, with
other purportedly ‘high risk’ unvaccinated individuals who also do not see the world through the
same eyes as Mayor de Blasio--all of whom the EEO essentially presumes to be sick, spreaders of
COVID-19, and menaces to society--the Constitution does not permit defendants to force such
view on the plaintiffs by threatening confiscatory penalties, and social misery.

69. Moreover, it is irrational to ‘lump in’, with other dissimilar individuals, individuals
such as plaintiffs King and Generoso who have already acquired natural immunity, and who
therefore (a) pose no risk; and (b) face only risk and no benefit from vaccination. Indeed, there
are a multitude of good reasons for individuals of all races, genders, religions, ages, and ethnicities
(such as the plaintiffs) not to get vaccinated, and even reasons and choices that may not seem good

to the Mayor or others, but which individuals are free to make nonetheless.

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THE PLAINTIFFS

Shaw-Naé Dixon

70. Shaw-Naé Dixon was declared legally dead on September 11, 2020, based upon
what is an unknown and mysterious ailment with which she was suddenly stricken.

71. Dixon previously had no health problems, and was fortunate to be revived by
doctors after being transported to a local hospital.

72. Dixon, who has just celebrated her first “re-birth day”, has been told by her doctors
that she cannot take the vaccine, because she may die in light of the unknown cause of her previous
death.

73. Dixon is an African-American woman, and thus belongs to a specifically targeted
suspect class of personsby the purportedly facially neutral EEO.

74, Shaw-Nae’s House is Dixon’s restaurant, which caters to a majority of African-
American customers, most of whom are unvaccinated and who refuse to be vaccinated.

75, As a result of the EEO, Dixon will not be allowed to work in her own restaurant,
nor will her unvaccinated employees, and most of her patrons--the majority of whom are African-
Americans--will not be permitted to enter the restaurant.

76. As a result of the EEO, Dixon, who is a proud and successful African-American
female business owner, will effectively be put out of business, and all of the African-Americans
described above will have their fundamental rights impaired. Dixon reasonably perceives the EEO

as discriminatory.

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Thomas Casatelli

77. Thomas Casatelli is a true American hero.

78. After serving with the United States Marine Corps in the Persian Gulf War,
Casatelli became a New York Firefighter, who was already highly decorated prior to 9/11/01.

79, On 9/11/01, Casatelli worked between both the North and South Towers to save
lives.

80. Casatelli was the sole survivor of his company from the 9/11 attacks.

81. Casatelli suffered with Post-Traumatic Stress Disorder (“PTSD”) and Survivor's
Guilt related to the trauma he suffered on 9/11, and was forced to retire from the FDNY.

82.  Casatelli thereafter invested in the plaintiff Per Tavern Corp. d/b/a The Kettle Black
, which gave him a sense of self after having to retire from the FDNY.

83. However, for years after 9/11, Casatelli self-medicated his PTSD by drinking,
which ultimately caused his failure to pay New York State and City taxes on behalf of the Kettle
Black.

84. — Asaresult, Casatelli was indicted, pled guilty, was sentenced to 90 days at Riker’s
Island, and was fined and penalized for a total amount of $1,300,000.00.

85. Following his release from prison, Casatelli began the process of rehabilitation over
several years.

86. Casatelli and his business associates took out second mortgages and loans to pay
off the $1,300,000.00 debt, all of which was paid off over 12 years.

87. Casatelli paid his debt to society, now no longer drinks, and is a peer mentor for

fireman and military veterans who suffer with PTSD, which is an underserved community.

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88. The Kettle Black has given Casatelli a platform from which he can serve as a staple
of the community, and represents his ‘new’ life’s work. Jeopardy to the Kettle Black equates to a
threat to destroy Casatelli financially, and personally.

89. Casatelli will not get vaccinated, as he does not believe that he is a likely candidate
for death or serious debilitating illness as a result of COVID-19, has concluded that the risks to
his health outweigh the benefits, and otherwise believes that the science is not yet fully formed on
the issue of the long-term efficacy, and the effects of COVID-19 vaccines.

90. Because of the EEO, Casatelli will not be able to work at The Kettle Black, will not
be able to meet his ‘partnership’ obligations, and will not be paid.

91. The Kettle Black will also have to hire individuals to check vaccine cards, and/or
employees will become less efficient and, therefore, costlier (in the sense of lost productivity, since
the business and its employees are being coerced into working for the defendants with respect to
checking COVID-19 records and identifications of every single patron, all without compensation),
and contrary to their conscientious beliefs about their patrons’ rights, but at the sole cost and
expense of The Kettle Black.

92. Castelli is terrified that he will not be able to work at The Kettle Black because of
the EEO, and that he will again have his sense of self, as well as his livelihood, taken away from
him--only this time, from the government which is supposed to protect him--and he will be unable

to fulfill his obligations to his partners because of the EEO.

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Chris King

93. Chris King is a business associate of Casatelli at The Kettle Black.

94. King has been advised by his doctors that he has natural immunity to COVID-19,
and that such natural immunity is a better defense to COVID-19 than the vaccine would be, and
that the risks of taking the vaccine are thus unnecessary.

95. King has thus exercised his constitutional right to determine his best medical
course, and not undergo vaccinations that pose all risk and no benefit to him.

96. King therefore will not get vaccinated and, thus, stands to lose his job because of
the EEO.

King will be unable to fulfill his ‘partnership’ obligations to his business associates as a
result of the EEO, and therefore will lose his income from The Kettle Black.

Jeanette Rivera

97. Jeanette Rivera is a grandmother of, and a contributing caregiver for, a 4-year-old
girl, who attends the Do Me A Favor gym in Staten Island, New York.

98. Rivera is disabled due to having suffered through, and survived, seven brain
aneurysms and a stroke.

99. Rivera has been instructed by her doctor not to get the vaccine, as it may cause her
death or serious medical complications.

100. If Rivera does not get vaccinated, the EEO will prevent her from taking her
granddaughter to the gym, and otherwise will prevent her from consorting with people in the City
at indoor venues, such as restaurants.

101. Thus, the Mayor has presented Rivera with a choice--either risk death and get

vaccinated against doctor’s orders, or literally be cast out of the places and things that bring joy

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and meaning to her and her granddaughter’s lives, in the exercise of their rights as citizens to
associate with and engage in personal and commercial activities equally with other citizens.

102. Rivera is an Hispanic-American, recognizes that Hispanics so far have been less
likely than members of non-suspect classes to get vaccinated, and reasonably perceives the EEO
as being discriminatory.

Natalia Yakubova

103. Natalia Yakubova is an individual who has sincerely held religious beliefs as a
Catholic, and who follows the recommendations of the National Catholic Bioethics Center, among
other Catholic tenets which may not fall in line with the Vatican.

104. Based upon her sincerely held religious beliefs, Yakubova will not get vaccinated
for, among other reasons, the use of aborted fetal cells by the companies whose vaccines are
available in the testing of such vaccines.

105. Yakubova is only 32 years old, takes care of her health, and is not of an age where
she is at significant risk of death or serious long-term health complications from COVID-19.

106. Yakubova will, however, be precluded by the EEO from maintaining the healthy
lifestyle that she currently maintains, since she will be barred from gyms due to her vaccination
status.

107. Similarly, Yakubova frequents many restaurants and eateries in the City, but now
will be institutionally discriminated against, based upon her sincerely held religious beliefs, which
preclude her from getting the vaccine.

108. The aggregate risk to the public from such conscientious vaccine decliners is red
negligible and the failure to include an exception for religious objectors not only cannot be

supported by a compelling State interest, but is irrational.

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George Kabbez

109. George Kabbez is one of the shareholders of Salty Dog Restaurant, LTD.

110. Kabbez has been advised by his doctor not to get vaccinated, due to medical issues
which he wishes to keep private.

111. Like the other Plaintiffs, Kabbez has a constitutional right to make such decision
and to have the government respect same.

112. Because of the EEO, Kabbez will be unable to work at the Salty Dog because of
his vaccination status.

113. The Salty Dog will further have to incur unnecessary labor costs and expenses in
order to effectuate the EEO’s mandates as to checking COVID-19 vaccination cards, such that the
Salty Dog will essentially be put into the service of the City without compensation.

114. Finally, there is a significant chance that the damage to the Salty Dog’s business,
which will be caused by the EEO on the heels of the 2020 COVID shutdowns and restrictions, will
force it permanently to close its doors.

Alison Marchese

115. Alison Marchese is a restaurant owner and has three minor children, ages 12 to 17,
referenced to herein as AM, JM, and MMV, the same being the initials of such minor children.

116. Alison Marchese is fully vaccinated, and has no objection to unvaccinated or
vaccinated persons coming to the restaurant, and dining inside.

i117. Despite being vaccinated herself, Marchese does not believe that children should
be vaccinated, and has made the parental choice not to allow her children to be vaccinated.

118. More specifically, Marchese has widely read on the subject, and is aware that there

are no studies that have been, or could have been, conducted as to the long-term effects of the

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COVID-19 vaccines on children, which therefore creates an unnecessary risk of harm to them
should they become vaccinated without corresponding benefit to them due to their very low-risk
status, and with negligible public risk.

119. Since Marchese’s children are not in a high-risk category, Marchese refuses to
allow her minor children to be vaccinated.

120. Because there is no exception in the EEO for age 12 to 17 children whose parents
have not allowed them to be vaccinated, Marchese’s children will not be allowed to visit her
restaurant, even when she needs to look after them there, and otherwise will be precluded from
most indoor activities within the City.

121. Since only 20% of City’s children between 12 and 17 are vaccinated, it can
reasonably be inferred that most parents do not want their minor children to be vaccinated.

122. Because Defendants well know these facts, the EEO is designed to force parents to
choose between (a) their best judgments and constitutionally-protected decision-making about
their own children’s health and upbringing, and (b) trying to maintain a normal lifestyle for their
children, by forcing them to get vaccinated so they may enjoy all the benefits of society, which are
otherwise threatened by the EEO during the time of life when they are supposed to enjoy the
freedom of youth.

123. The self-avowed compulsion (created by the EEO), to force parents to vaccinate
such children, constitutes an unconstitutional government-created danger, and a deprivation of
their liberty interest in directing the upbringing of their children.

William Morris

124. William Morris is an individual who owns Do Me A Favor Gym, together with his

wife, Jessica. Both are unvaccinated.

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125. Morris served for 21% years in the United States Marine Corps Reserves, and was
called to active duty three times for a total of almost four years, including serving two tours of
duty in Iraq as an Infantry Mortarman.

126. Morris suffers with PTSD and is 80% disabled.

127. Morris also has served 15 years for the Department of Homeland Security as a
United States Air Marshal, and is now in the process of retiring.

128. Morris, together with his wife, opened Do Me A Favor Gym, which primarily
serves children who are in the underserved “Autism spectrum community.”

129, Do Me A Favor Gym offers such children an opportunity to socialize and to
exercise in ways that they do not typically have available to them given their conditions.

130. Many of the parents of children in the Autism spectrum community will not get the
COVID-19 vaccines, as they believe that vaccines have caused Autism in their children.

131. William Morris will not get vaccinated, because he does not believe himself to be
likely to suffer long term health effects of COVID-19, and otherwise wishes to stand in solidarity
with most of the parents of children in the Autism spectrum community, who are not getting
vaccinated.

132. As aresult of the EEO, Do Me A Favor Gym will have to close, thus cutting off
services to the underserved Autism spectrum community, and otherwise putting William Morris,
his wife, and others, out of work, and his gym out of business.

Mary Josephine Generoso

133. Mary Josephine Generoso is an individual who is employed in a restaurant in

Brooklyn, New York.

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134. Mary Josephine has been advised by her medical doctor that she has natural
immunity to COVID-19 and, thus, in pursuit of her fundamental constitutional rights, she will not
get the vaccine and take such unnecessary personal risk.

135. By virtue of the EEO, Mary Josephine will be forced out of her employment in the
restaurant, since--irrationally so--there is no exception to the EEO for individuals with natural
immunity.

Independent Restaurant Owners Association Rescue, Inc. (““EROAR”)

136. IROAR is a not-for-profit “509(c)\(3)” corporation, which includes membership of
approximately 200 City restaurants, and which advocates for City restaurants. Such restaurants
constitute one of the City’s most important commercial and cultural elements. Many restaurants
operate on low margins to begin with, which have now been stripped to the bone.

137. City restaurants have been severely challenged by the pandemic and damaged by
the EEOs, and only now are starting to get back on their feet, to the extent they have survived.

138. The restaurant business is also suffering with a crushing labor shortage, and most
restaurants are struggling to survive.

139. The EEO will restrict the ability of owners, managers, employees, and customers
who are unvaccinated from entering business premises.

140. It is likely that many restaurants will not survive such crushing mandates.

141. Additionally, while the EEO will force reduced management, employment, and
customers for City restaurants, it mandates that restaurants and, through the businesses--which
include sole proprietorships--their managers and other employees, must check the vaccine status

and identification of every person attempting to dine in a restaurant.

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142. Thus, the labor, costs and burdens of the EEO, including lost productivity costs, are
borne by the restaurants.

143. Further, the EEO will require restaurants to discriminate against individuals based
on health status, race, religious conviction, health status, and other factors, all of which are likely
to violate the law, which will expose restaurants to lawsuits, and which will cause restaurants, their
owners, managers, and employees to act in a discriminatory manner which is abhorrent to all,
against their wishes.

144. Included in groups with low vaccination rates, agaist whom the Mayor is
compelling discrimination by restaurants, are African-American, Hispanics/Latinos, youths aged
12-17, many religious Christians, and the Orthodox Jewish community.

145, Such mandate is coerced by the EEO under threat of crushing fines, such that
restaurants, their owners, managers, and other employees must suffer same as literal indentured
servants of the Mayor, without any additional compensation, but only with added costs.

146. Further, the ability and fundamental constitutional right of patrons and staff to
associate with vaccinated and unvaccinated individuals of their own choosing is largely destroyed
by the EEO, which creates two classes of people (beyond absurd exceptions for athletes and
entertainers) as if no vaccinated person would ever want to associate with an unvaccinated person,
and vice versa, which is a complete and total fallacy.

OVERVIEW

147. As detailed above, the EEOs adversely affect fundamental constitutional rights to
property and liberty of the plaintiffs and millions of others. The only people excepted from the
EEO are some athletes and entertainers; yet the hundreds of thousands who do not want the

vaccine, cannot take the vaccine, or who do not need the vaccine, must suffer tyrannical

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deprivations of their liberties and property because of the Mayor’s coercive demands. No less-
extreme, alternative measures have been provided, yet many exist--including masking and social
distancing, which have become COVID staples for protection of the public-or accepting medical
confirmation of issues such as natural immunity. Meanwhile the risks to unvaccinated individuals
are negligible, and the risks to unvaccinated individuals is virtually non-existent based on the
City’s own statistics, as noted in the preamble of the EEO itself.

148, All the plaintiffs will suffer permanent and irreparable injury from the EEO, in
addition to mental anguish, pain, and suffering, and/or other physical injury.

FIRST COUNT
(Equal Protection-Racial Discrimination)

149. The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

150. The EEO, though facially neutral in its wording, knowingly treats African-
American and Hispanics differently from others similarly situated.

151. Defendants know that the EEO will disparately impact the rights and lives of
African-Americans and Hispanics to a much greater percentage degree than members of non-
suspect classes.

152. The totality of circumstances reveals that such unequal treatment under the EEO is
based on impermissible racial classifications.

153. It is intended by defendants that the EEO’s restrictions would coerce African-
Americans and Hispanics. The EEO has thus purposely institutionalized onerous and
unconstitutional restrictions on their liberty and, with respect to minority business owners, their

property, in an effort to coerce members of such communities to get vaccinated against their wills,

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and against their fundamental constitutional rights, such as the right to determine their own medical
treatment (and their children’s). In each such regard, African-Americans and Hispanics are thus
disproportionately harmed in their constitutional rights.

154. Indeed, in light of the known fact that some 59% of African-Americans in the City
will be deprived of most indoor commercial activity, with his EEOs, the Mayor literally is telling
most African-Americans in the City that effective September 13, 2021, they cannot sit at the lunch
counter.

155. Beyond being despicable, such shocking conduct by defendants violates the
Fourteenth Amendment of the United States Constitution, as well as Art. 1 § 11 of the New York
Constitution, such that EEOs 225, 226, and 228 are unenforceable.

SECOND COUNT
(Substantive Due Process-Right to Bodily Health and Integrity)

156. The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

157. The EEO deprives liberty to individuals who have bona fide medical exceptions to
being vaccinated, including, but not limited to, plaintiffs Dixon, Rivera, King, and Kabbez.

158. Similarly, by virtue of the EEO’s coercive mandates, all plaintiffs, including the
children on whose behalf Marchese brings suit, and ail other unvaccinated residents of and visitors
to the City, are deprived of their liberty interests, protected under the Fourteenth Amendment of
the United States Constitution, fo their bodily health and integrity.

159. No compelling governmental interest exists which provides defendants with the
license to so intrude upon such fundamental constitutional rights; and as to any such putative

interest, the EEO is not narrowly tailored as is constitutionally required--quite the opposite. The

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coercive EEO, in fact, unconstitutionally creates a danger to the lives and health of said plaintiffs
and others, and is irrational.

THIRD COUNT
(Substantive Due Process-Religious Freedom)

160. The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

161. The EEO violates the First and Fourteenth Amendments of the United States
Constitution, in that it makes no exceptions for those who have bona fide religious objections to
receiving a vaccine.

162. The failure to provide for religious exemptions by the State actors, Mayor and City,
acting under color of law, shocks the conscience, and is without compelling basis, such that EEO
225, 226, and 228, for which defendants are fully culpable, may not be enforced under the United
States Constitution, and/or Art. 1 § 3 of the New York Constitution.

FOURTH COUNT
(Substantive Due Process-Right to Direct One’s Children’s Upbringing)

163, The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

164. The EEO violates the Due Process Clause of the Fourteenth Amendment of the
United States Constitution, in that it impairs, penalizes and deprives parents, including Marchese,
of their rights to direct the upbringing of their children, which is a protected liberty interest,
including her determination not to have her 12 to 17-year-old children get vaccinated against
COVID-19, similar to countless similar determinations made by the vast majority of New York’s

(and the nation’s) citizens who are parents.

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165. The State actors, Mayor and City of New York, are fully culpable for the
deprivation of such fundamental rights, and are operating under color of law, which shocks the
conscience, such that EEO 225, 226, and 228 may not be enforced under the United States
Constitution.

FIFTH COUNT
(Substantive Due Process-Free Association)

166. The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

167. Citizens who are unvaccinated are deprived by the EEO of the right to free
association, which is a liberty interest protected under the First and Fourteenth Amendments of
the United States Constitution.

168. Individuals including, but not limited to, all the individual plaintiffs, and minors
AM, JM, and MMV, on whose behalves claims are being brought by Marchese, and the patrons,
and workers of the business plaintiffs, are irrationally presumed by the EEO to be sick and/or
carriers of disease merely because they are unvaccinated. Such presumption is unconstitutionally
being used as a basis to deprive them of their right to association.

169. Further, vaccinated citizens, such as Marchese, also are deprived of their right of
association by being deprived of the company of unvaccinated citizens due to the perception,
created under color of law in the EEO, that unvaccinated are sick and unhealthy menaces to society
such that they may not be allowed indoors, even though the unvaccinated pose little or no risk to
vaccinated individuals who are allowed to remain indoors under the EEO.

170. Such sweeping determinations by the defendants (ignoring both the true facts and

the need to narrowly tailor any curtailment of fundamental liberties), which cause a deprivation of

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society (association) for large masses of people, are being undertaken by State actors under color
of law; unconstitutionally deprive the plaintiffs and virtually all other City residents--both
vaccinated and unvaccinated--of their liberty; and violate the First and Fourteenth Amendments of
the United States Constitution in a manner which shocks the conscience.
171. In addition to the above, the EEOs violate Art. I, § 9(1) of the New York
Constitution.
SIXTH COUNT

(Substantive Due Process-Right to Hold Specific Private Employment
and Follow a Chosen Profession)

172. The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

173. The EEO mandates that unvaccinated individuals, including business owners and
their employees, be driven outdoors, such that they cannot work in the specific private employment
that they desire, or otherwise engage in their chosen professions, a fundamental liberty interest
under the Fourteenth Amendment of the United States Constitution.

174. Plaintiffs Dixon, Casatelli, King, Kabbez, and Morris, among hundreds of
thousands of others, are so being deprived of such constitutional right by the State actor defendants,
who are acting under color of law in a manner which shocks the conscience, such that the EEO
cannot be enforced.

SEVENTH COUNT
(Thirteenth Amendment: Indentured Servitude)

175. The plaintiffs repeat and reassert each and every allegation above, as if fully set

forth herein at length.

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176. In addition to the racial protections it offers, the Thirteen Amendment of the United
States Constitution also prohibits indentured servitude in a way that is directly applicable to the
EEO’s coercion of both (a) the plaintiff businesses, and (b) those plaintiffs who are principals of
those businesses.

177, The EEOs forcibly compel establishments of all varieties, including sole
proprictorships, as well as their employees, to engage in labor, and to incur costs, in engaging in
enforcement efforts on behalf of the defendants, under the coercive threat of penalties and
potentially crippling fines for violations thereof.

178. More specifically, the EEO requires all covered entities to check the vaccine status
and identification of each and every patron walking through the door, with very limited exceptions.

179. Each and every individual entering business premises, who is not a member of an
excepted class, must be examined for proof of vaccination by the plaintiff businesses, their
principals, and/or their employees under threat of governmental coercion, and against their will.

180. Such obligations create significant additional labor for the plaintiffs and others who
are similarly situated, will increase costs for the business defendants, will earn no additional pay
for their employees who are compelled to so act, and will cause productivity losses to the business
plaintiffs and those similarly situated.

181. All such burdens resuit from executive fiat, and are not the acts of the Legislature,
thus distinguishing them from required acts such as seeking proof of age when buying alcoholic
drinks.

182. Another distinction is that unlike proof of age, the plaintiffs have conscientious and

good-faith beliefs that compelling their patrons to provide proof of vaccination, on pain of being

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denied service, including the vast majority of the African-American community, is improper and
unlawful.

183. Asaresult, thereof, businesses, including sole proprietorship, and their employees,
will be compelled by the EEO to serve in the capacity of Mayoral enforcement officers without
compensation, under the coercive threat of crippling fines, and in violation of Plaintiffs’
conscientious beliefs and legal rights not to engage in racial and other forms of discrimination.

184. Such coercive forced labor of businesses and, through such businesses, their
owners, principals, managers, and employees, constitutes a violation of the Thirteenth
Amendment’s prohibition against indentured servitude.

EIGHTH COUNT
(Equal Protection, Compulsory Discrimination)

185. The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

186. The EEO compels businesses to engage in conduct which discriminates against
individuals on numerous protected bases, including their religious preferences, their healthcare
choices, and their race; each of which is protected by various federal, state, and local statutes,
codes and regulations.

187. Such private conduct by businesses abridging individual rights of patrons is being
compelled by the State-actor defendants, through coercion, such that the business’ refusal to
discriminate against patrons in any manner is removed from their sphere of private choice.

188. Plaintiffs are irrationally treated differently from others who are similarly situated,
such as hotels, banks, and residential high rise buildings, which are not covered by the EEO despite

posing indistinguishable or greater putative risks, and such prohibited differential treatment is

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based on an impermissible classification with the discriminatory intent of harming certain business
and compelling certain businesses to serve at the whim of the Mayor, contrary to other businesses-
-such as professional sports teams, professional artists, hotels, and banks--upon which the Mayor’s
favor shines favor, even though such favoritism will likely subject the plaintiff businesses (not to
mention the City itself, at taxpayer expense, including the plaintiff taxpayers themselves) to
lawsuits for the discriminatory conduct being forcibly imposed on them by the EEO.

189. The EEO also is intended to be applied in a discriminatory fashion, treating
plaintiffs’ businesses differently than businesses outside of New York City including similar
businesses in other large cities in the State of New York and the United States, without
consideration of the effectiveness of other less onerous State and Federal regulations and
guidelines that have heretofore been in effect.

190. There can be no legitimate government interest in compelling plaintiffs and others
to violate laws against discrimination, regardless of classification, even more particularly when

such demand arises from executive fiat or decree, as is the case here, and not from Legislative

action.
NINTH COUNT
(Unconstitutional Taking)
191. The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

192, The EEO has rendered unviable the beneficial use of the properties owned by
plaintiffs, Dixon, Casatelli, King, Kabbez, Marchese, Morris, Shae-Nae’s House, LLC, Salty Dog

Restaurant, Ltd, Per Tavern Corp., and Cargostork Parties, Inc., as well as many other businesses

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which are members of IROAR, in that they are unable to operate the businesses for which the
properties were designed under the strictures of the mandate.

193. The EEO impinges upon these plaintiffs’ reasonable investment expectations to
operate their businesses and beneficially use their properties.

194. The EEO arbitrarily discriminates against these plaintiffs, in that it does not include
hotels and banks (as noted above), or schools and school programs, child care programs, senior
centers, banks, hotels, and other facilities exempted from the mandate, nor meaningfully cover
“event” venues; and excludes from covered premises residential and office buildings the use of
which is limited to residents, owners or tenants of the buildings, no matter how heavily populated
(and in many cases far more populated than prohibited uses such as plaintiffs’).

195. The EEO also discriminates against plaintiffs because it does net apply to certain
other individuals and entities such as non-resident performing artists not regularly employed by a
covered entity; non-resident professional athletes and sports teams; and non-resident individuals
accompanying performing artists or professional athletes who are performing or competing in the
covered premises. In contrast, the EEO arbitrarily applies to the plaintiffs in that their use of their
premises as restaurants and fitness facilities is thwarted by the Mayor’s mandate, for which there
is no legitimate distinction.

196. In adopting the EEO, there was no public study or review akin to a legislative
process. Moreover, the Mayor made no analysis as whether the EEO is consistent with supervening
State and Federal COVID-19 regulations and guidance. The EEO is not narrowly tailored, and
fails to include a process to allow for exceptions based on compelling circumstances that are
applicable to the plaintiffs, that in the absence of being excluded from the EEO, will cause them

immediate and irreparable harm.

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197. As manifested by the Preamble to EO 225, only 56% of City residents are fully
vaccinated, which means that the majority of plaintiffs’ customers, i.e., the, substantial number of
plaintiffs’ customers or patrons who have either chosen not to be vaccinated, or are unable to be
vaccinated for compelling reasons, or who do not need to be vaccinated, are required to be
excluded from the plaintiffs’ premises under the Mayor’s commands, For the plaintiff Shaw-Nae’s
Kitchen, since the majority of her customers of African-American, most of her customers will be
lost, to the extent that she can remain open at all. Such constitutes a confiscatory destruction of
plaintiffs’ businesses at the cavalier stroke of a pen.

198. In addition, the prohibition against accepting unvaccinated customers and patrons
is not limited as to time. Even a delay of limited duration will substantia] destroy the beneficial
use of the plaintiffs’ properties and cause the continuation of the businesses to be untenable.

199. In terms of their decisions regarding their properties and businesses, reasonable
business owners affected by the EEO would have anticipated that vaccinated and unvaccinated
customers or patrons be accepted equaily at their businesses during the pandemic with the
implementation of non-discriminatory and lawfully tailored protective measures such as masking
and social distancing in contrast to the Mayor’s overly burdensome and discriminatory mandate.

200. The EEO is intended to be applied in a discriminatory fashion, treating plaintiffs’
businesses differently than businesses outside of New York City including similar businesses in
other large cities in the State of New York and the United States, without consideration of the
effectiveness of other less onerous State and Federal regulations and guidelines that have
heretofore been in effect.

201. For these reasons, the EEO fails the test set forth in Penn Central Trans. Co. v. City

of New_York, 438 U.S. 104, 124 (1978), in that it will have a dire economic impact on the
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plaintiffs’ use of their properties, constitutes a significant interference with the plaintiffs’
reasonable investment-backed expectations, and is a manifestation of government overreaching
that unduly discriminates against the plaintiffs.

202. Therefore, the adoption of the EEO is a non-categorical regulatory taking by
defendants without payment of just compensation, in violation of the Fifth Amendment to the
United States Constitution, made applicable to the Mayor as the chief executive officer of a
subdivision of a State, and the City as such subdivision, by the Fourteenth Amendment.

203. The violations of the Fifth and Fourteen Amendments described above were the
result of a custom, practice, or policy of the Mayor claimed to be authorized by color of State law,
and which has denied the plaintiffs their rights, privileges, and immunities guaranteed under
Constitution and laws of the United States, and secured by 42 U.S.C § 1983, particularly depriving
the plaintiffs of their right to property under the Fifth Amendment, and their right to Due Process
and Equal Protection under the laws guaranteed by the Fourteenth Amendment.

204. Asa result of the defendants’ wrongful acts, the plaintiffs have suffered and will
continue to suffer damages, including humiliation, mental pain, and anguish.

TENTH COUNT
(Procedural and Substantive Due Process in General)

205. The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

206. The plaintiffs have a fundamental property interest in conducting lawful business
activities, protected by the Due Process Clause of the Fourteenth Amendment to the United States
Constitution, which includes the freedom to earn a living by any lawful calling and to pursue a

livelihood or vocation.

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207. The plaintiffs have a right to operate their businesses free of arbitrary deprivation
by the defendants and threats of colossal penalties. Nevertheless, through the EEO, defendants
seek to impair the plaintiffs’ liberty and property interests in their businesses by expressly
depriving their rights and liberties in lawfully operating their businesses.

208. The plaintiffs have a right to be free from executive actions of the Mayor, who is
using his self-perpetuated emergency powers to draw irrational distinctions between those
exempted from the EEO and those subject thereto, who irrationally forces the unvaccinated
outdoors when they pose no real threat to the vaccinated indoors, who fails to exempt those with
religious, medical, and other bona fide and legitimate reasons--such as natural immunity--from the
EEO, and who destroys the availability of important services--such as services to the underserved
Autistic spectrum community and to firefighters and veterans suffering with PTSD--via ukase.

209, The plaintiffs’ liberties extend to their personal choices central to individual dignity
and autonomy, including intimate choices that define personal identities and beliefs, including,
without limitation, religious, medical, social, and economic choices.

210, The EEO does not afford the plaintiffs a constitutionally adequate hearing to
present their case for the businesses not to be impaired, and compels the plaintiffs to operate their
businesses with an entire class of patrons and customers eliminated when there are alternate
measures to properly address the health and safety issues presented by COVID-19.

211. The Mayor has failed to comply with constitutional requirements in connection
with plaintiffs’ rights and liberties as they relate to plaintiffs’ businesses and has proceeded on the
basis of procedurally deficient and substantively unlawful processes which deprived the plaintiffs
of the property rights and their fundamental rights to (and ability to) operate the businesses without

unconstitutional government overreach.

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212. The procedural and substantive due process violations described above are the
result of a custom, practice, or policy of the Mayor claimed to be authorized by color of State law
and which has denied the plaintiffs their rights, privileges, and immunities guaranteed under the
Constitution and laws of the United states and secure by 42 U.S.C § 1983, particularly depriving
the plaintiffs of their right to property under the Fifth Amendment and their right to Due Process
and Equal Protection under the laws guaranteed by the Fourteenth Amendment.

213. Asa result of the Mayor’s wrongful acts, the plaintiffs have suffered and will
continue to suffer damages, including humiliation, mental pain, and anguish.

214. The plaintiffs have no adequate remedy at law and will suffer irreparable harm to
their constitutional rights in the absence of an injunction barring enforcement of the EEO.

ELEVENTH COUNT
(Lack of Authority under City Charter, Administrative Code, or State Statute)

215. The plaintiffs repeat and reassert each and every allegation above as if fully set
forth herein at length.

216. The Mayor’s actions were without legal authority under the New York City Charter,
in the Mayor exceeded his authority subjecting private citizens, who are not employees of the
City’s Executive Branch who may be reached by Executive Orders of the Mayor.

217. The Mayor’s actions exceeded his authority as to the EEOs, since his purported
health emergency has lasted more than 30 days, and because the EEO is an improper Order--one
which is additionally improper since, by its terms, it may last in excess of twelve months, in
violation of New York State Executive Law § 24.

218. The Mayor’s actions exceeded the authority granted to him by the New York City

Administrative Code § 3-107, since his Executive Order/emergency was extended for more than

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five days without renewal prior to every five day period thereafter, and otherwise § 3-104 thereof
since the purported emergency no longer exists within the City.

219, The Mayor’s actions are not authorized by a local ordinance of the City Council as
required by, and/or otherwise has not been promulgated in keeping with, the New York City
Charter and/or the New York City Administrative Code’s emergency rulemaking framework set
forth in NYC Admin. Code § 1041.

220. The Mayor’s actions exceed his authority because they amount to dictatorial
measures which have not come before the people or their legislative representatives--a complete
lack of procedural due process under the US and New York State Constitutions-- and are without
record of the basis for promulgating same, which is purportedly set forth in the preambles of EEOs
225, 226, and 228.

221. The Mayor’s actions are not permitted by State statute, since no statutory authority
exists which provides the Mayor with emergency executive powers to take affirmative steps which
generally fail within the province of the State legislature, such as mandating vaccinations,
establishing exceptions, or creating coercive measures in the purported best interests of the health,
safety, and welfare of the citizens to cause them to chose between suffering the coercive measures
or becoming vaccinated. Indeed, established statutory exceptions such as religious exemptions are
ignored and violated by the EEO.

222. For such reasons, the EEOs are void as being ultra vires acts of the Mayor.

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TWELFTH COUNT
(Privileges and Immunities: All the Mayor’s Emergency Powers are Unconstitutional and
Void)

223. The plaintiffs repeat and reassert each and every allegation above, as if fully set
forth herein at length.

224, To the extent that the Mayor had the authority to promulgate EEO 98, and thereafter
to continue taking actions under such original emergency authority, the conditions which created
such emergency no longer exist, yet the Mayor continues with his purported emergency authority.
Emergency edicts that curtail fundamental rights must be strictly scrutinized, more so as they go
from weeks to months to years.

225. In continuing to claim emergency powers, with respect to the EEO 225, 226, and
228, as well as every other EEO promulgated by the Mayor pursuant to his putative emergency
powers due to COVID-19, the Mayor shall continue to reserve unto himself the purported right to
curtail the liberty and property rights of the citizens of the City under the United States
Constitution, such that he has exceeded any legitimate police power.

226. While Jacobson v. Commonwealth of Massachusetts, 197 U.S. 11 (1905), even as

cabined by later case law, may provide a philosophical constitutional basis for the declaration of
health emergencies, the law is devoid of any suggestion contradicting the principle that the police
power of the States and their political subdivisions must, at some point, terminate such emergency
powers in order to protect the rights of national citizenship belonging to the people of such states
and political subdivisions. At some point, the States and political subdivisions thereof must bear
the burden of proving the continuing constitutionality of their emergency powers.

227. Under such circumstances, any further conduct of the Mayor in attempting to

enforce or enact purported emergency powers which in any way touch the liberty and/or property
39

interests of the plaintiffs and/or the other residents of the City and/or the State--including any and
all such restrictions currently in existence in any and all EEO’s promulgated by the Mayor
pursuant to such purported authority--violates their Privileges and Immunities of national
citizenship, protected pursuant to the Fourteenth Amendment of the United States Constitution,
and/or otherwise violates their rights under the Due Process Clause and/or the Equal Protection
Clause of the United States Constitution.

228, To the extent that The Slaughter-House Cases, 83 U.S. (16 Wall.) 36 (1872), and

its progeny, would deprive the Courts of an enforcement mechanism under the Privileges and
Immunities Clause of the Fourteenth Amendment, such case or cases should be expanded,
abrogated, narrowly construed, confined to their own facts, or overruled, since without such
authority as intended by the drafters of the Constitution, courts applying the Constitution are
powerless to curtail and to place guardrails on States and their subdivisions from permanently
declaring emergencies, which then may be used to intrude perpetually upon the liberty and
property interests associated with national citizenship (and thus even citizenship of those within a
particular State) that are protected by the United States Constitution.

229, Further, under the circumstances, any further conduct of the Mayor in attempting
to enforce or enact purported emergency powers which in any way touch the liberty and/or
property interests of the residents of other States--including those currently in existence pursuant
to such purported authority--would violate the Privileges and Immunities of citizens of such States,
pursuant to the Article IV, Section 2, Clause 1 of the United States Constitution. In this case, such
restrictions also harm plaintiffs.

230. The many difficult legal issues arising from the COVID-19 pandemic, which touch

upon alleged deprivations and curtailments of liberty and property interests of citizens of the States
40
and the nation, and the misuse of emergency declarations to govern over a very long period of
time, have made abundantly clear the need for a revisiting of the traditional deference to State
action (especially pure executive action) in instances of emergency, lest such action be abused,
and the citizenry thereof be molested in terms of Constitutional rights.

231. The evidence herein reveals that the Mayor acted to impose emergency measures
in March 2020, when COVID-19 was a great unknown, and seemingly was highly dangerous to
the entirety of the public.

232. Today, after a year and a half of continuous executive “emergency” rule, the City’s
own statistics reveal that the level of danger with COVID-19 is virtually non-existent among the
vaccinated, and is of relatively minimal danger to the unvaccinated, which danger is actually
declining.

233. The basis for the Mayor’s taking emergency powers for himself no longer exists,
yet the Mayor has engaged in an ongoing campaign of attacking the fundamental liberty and
property interests of the residents and workers within the City as if the emergency continues to
exist at a high level, and has arrogated unto himself individually the power to run the City for a
period of years with no end in sight under the guise of “COVID-emergency forever” rulemaking
authority.

234, One cannot help but conclude that the actions of the Mayor are becoming
indistinguishable from those of a tyrant, who is so enamored and intoxicated with his perceived
power and infallibility, that he cannot restrain himself from increasing such power, even as the
basis for its grant to him by the people--to the extent it ever existed--no longer exists. This is true
regardless of whether the Mayor believes he is well-motivated, since under our system of

government, that putative motive does not allow the Mayor to become a one-man permanent

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government, “l’etat c’est moi”. The result is that the citizens such as plaintiffs now are losing their
constitutionally protected fundamental liberty and property interests at the hands of an out-of-
control, despotic Mayor, who believes himself to have no constitutional guardrails on his perceived
emergency authority.

235. For all these reasons, the plaintiffs seek this Court’s urgent help, as well as a
determination as to when, why, and how the police powers of the States and their subdivisions to
declare an emergency end under the United States Constitution, and when the protections of the
Privileges and Immunities Clause of the Fourteenth Amendment and/or the Due Process and/or
Equal Protection Clauses of the Fourteenth Amendment begin--which, the plaintiffs are convinced,
is here and now.

WHEREFORE, the plaintiffs demand judgment as follows:

A. Permanently enjoining and restraining the Mayor and the City of New York from
enforcing EEO 225, 226, and 228;

B. Granting temporary restraints pending a hearing for preliminary injunction and
permanent injunction;

C. Declaring that EEO 225, 226, and 228 are facially unconstitutional, and are void;

D. Awarding compensatory, punitive damages and reasonable attorneys’ fees and costs
pursuant to 42 U.S.C. §§ 1983 and 1988;

E. Awarding injunctive relief and other equitable relief, as provided under 42 U.S.C.
§ 1983

F, Awarding just compensation for the taking of the properties;

42

Dated:
2114692 1

G. Declaring EEO 225, 226, and 228 to be ultra vires pursuant to the New York City

Charter, the New York City Administrative Code, and the New York State statutes

and laws;

. Permanently restraining and enjoining the Mayor from taking any further actions to

enforce or to promulgate new measures under his emergency powers as related to
COVID-19, including new measures of enforcement of any and all existing EEOs,
promuigated thereunder, as same exceeds the authority of a State power, and violates
the United States Constitution, including, but not limited to, the Privileges and
Immunities clause of the Fourteenth Amendment of the United States Constitution.
Awarding all costs of suit, including reasonable attorney’s fees and costs;

Granting such other and further relief as may be equitable and just under the
circumstances,

JURY DEMAND

The plaintiffs hereby demand a trial by jury of twelve persons on all Counts so triable.

WEINER LAW GROUP LLP
Attorney for Plaintiff

By: mouald 4, Gerutti
Ronald A. Berutti
A Member of the Firm

September 13, 2021

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Case 1:21-cv-05090-BMC Document1 Filed 09/13/21 Page 44 of 73 PagelD #: 44

VERIFICATION

I, Shaw-Nae Dixon, being of full age duly verifies the following, under penalty of
perjury:

I have read the foregoing Complaint and to the best of my knowledge, information, and
belief, the information contained therein is true.

Dated: September 13, 2021

Shaw-Nae Dixon
Case 1:21-cv-05090-BMC Document1 Filed 09/13/21 Page 45 of 73 PagelD #: 45

VERIFICATION

[, Thomas Casatelli, being of full age duly verifies the
following, under penalty of perjury:

I have read the foregoing Complaint and to the best of my
knowledge, information, and belief, the information contained
therein is true. on

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Dated: September 13,
2021

Thomas Casatelli
Case 1:21-cv-05090-BMC Document1 Filed 09/13/21 Page 46 of 73 PagelD #: 46

VERIFICATION

I, Jeanette Rivera, being of full age duly verifies the following, under penalty of perjury:

1 have read the. foregoing Complaint and to the best of my knowledge, information, and
belief, the information contained therein is true.

Dated: September 13, 2021 [\ Law (Qe

Jeaffette Rivera

Case 1:21-cv-05090-BMC Document1 Filed 09/13/21 Page 47 of 73 PagelD #: 47

VERIFICATION

1, Natalia Yakubova, being of full age duly verifies the following, under penalty of
perjury:

I have read the foregoing Complaint and to the best of my knowledge, information, and
belief, the information contained therein is true.

Dated: September 13, 2021 Yours

Natalia Yakubova

Case 1:21-cv-05090-BMC Document1 Filed 09/13/21 Page 48 of 73 PagelD #: 48

VERIFICATION
I, Chris King, being of full age duly verifies the following, under penalty of perjury:

I have read the foregoing Complaint and to the best of my knowledge, information, and
belief, the information contained therein is true.

Dated: September 13, 2021 C- Lae

Chris King

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Case 1:21-cv-05090-BMC Document1 Filed 09/13/21 Page 50 of 73 PagelD #: 50

VERIFICATION

I, William Morris, being of full age duly verifies the following, under penalty of perjury:

I have read the foregoing Complaint and to the best of my knowledge, information, and
belief, the information contained therein is true,

Dated: September 13, 2021 Salen lye
cl

iiiam Morris
Case 1:21-cv-05090-BMC Document1 Filed 09/13/21 Page 51 of 73 PagelD #: 51

VERIFICATION

{, George Kabbez, being of full age duly verifies the following, under penalty of perjury:

I have read the foregoing Complaint and to the best of my knowledge, information, and
belief, the information contained therein is true.

if
Dated: September 13, 2021 [he A (ly

George Kabblz ‘ " /

ere

Case 1:21-cv-05090-BMC Document1 Filed 09/13/21 Page 53 of 73 PagelD #: 53

EXHIBIT A
9/8/21, 7:00 PM Emergency Executive Order 225 | City of New York

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Emergency Executive Order 225

August 16, 2021

Key to NYC: Requiring COVID-19 Vaccination for Indoor
Entertainment, Recreation, Dining and Fitness Settings

Download Emergency Executive Order 225

WHEREAS, the COVID-19 pandemic has severely impacted New York City and its economy, and is
addressed effectively only by joint action of the City, State, and Federal governments;

WHEREAS, the state of emergency to address the threat and impacis of COVID-19 in the City of New
York first declared in Emergency Executive Order No. 98, and extended most recently by Emergency
Executive Order No. 220, remains in effect;

WHEREAS, this Order is necessary because of the propensity of the virus to spread person-to-person,
and also because the actions taken to prevent such spread have led fo property loss and damage;

WHEREAS, the U.S. Centers for Disease Control (“CDC”) reports that new variants of COVID-19,
classified as “variants of concern,” are present in the United States;

WHEREAS, some of these new variants currenily account for the majority of COVID-19 cases
sequenced in New York City and are much more transmissible than earlier variants;

WHEREAS, the CDC has stated that vaccination is the most effective tool to mitigate the spread of
COVID-19 and protect against severe illness;

WHEREAS, the CDC has also stated that vaccination benefits both vaccine recipients and those with
whom they come into contact, including individuals who are ineligibie for the vaccine due to age, health
or other conditions;

WHEREAS, the receni appearance in the City of the highly transmissible Delta variant of COVID-19 has
substaniially increased the risk of infection; ,

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9/8/21, 7:00 PM Emergency Executive Order 225 } City of New York

WHEREAS, indoor entertainment, recreation, dining and fitness settings generaily invoive groups of
unassociated people interacting for a substantial period of time and requiring vaccination for all
individuals in these areas, including workers, will protect the public health, promote public safety, and
save the lives of not just those vaccinated individuals but the public at large;

WHEREAS, 56% of City residents are fully vaccinated and 62% of residents have received at least one
dose, and mandating vaccinations at the types of establishments that residents frequent will incentivize
vaccinations, increasing the City’s vaccination rates and saving lives; and

WHEREAS, a study by Yale University demonstrated that the City’s vaccination campaign was
estimated to have prevented about 250,000 COVID-19 cases, 44,000 hospitalizations and 8,300 deaths
from COVID-19 infection since the start of vaccination through July 1, 2021, and the City believes the
number of prevented cases, hospitalizations and death has risen since then; and that between January
1, 2021, and June 15, 2021, over 98% of hospitalizations and deaths from COVID-19 infection involved
those who were not fully vaccinated;

NOW, THEREFORE, pursuant to the powers vested in me by the laws of the State of New York and the -
City of New York, including but not limited to the New York Executive Law, the New York City Charter
and the Administrative Code of the City of New York, and the common law authority to protect the public
in the event of an emergency:

Section 1. | hereby order that a covered entity shali not permit a patron, full- or part-time employee,
intern, volunteer, or contractor to enter a covered premises without displaying proof of vaccination and
identification bearing the same identifying information as the proof of vaccination.

§ 2. | hereby order that the following individuals are exempted from this Order, and therefore may enter
a covered premises without displaying proof of vaccination, provided that such individuals wear a face
mask at all times they are unable to maintain six (6) feet of distance from other individuals inside the
covered premises:

a, Individuals entering for a quick and limited purpose (for example, using the restroom, placing or
picking up an order or service, changing clothes in a locker room, or performing necessary
repairs);

b. A nonresident performing artist not regularly employed by the covered entity while they are in a
covered premises for purposes of performing;

c. Anonresident professional athlete/sports team who enters a covered premises as part of their
regular employment for purposes of competing; and

d. A nonresident individual accompanying a performing artist or professional athiete/sports team into
a covered premises as part of their reguiar employment so long as the performing artist or
professional athlete/sports team are performing or competing in the covered premises.

§ 3. | hereby direct each covered entity to develop and keep a written record describing the covered
entity's protocol for implementing and enforcing the requirements of this Order. Such written record shall
be available for inspection upon a request of a Cily official as allowed by law.

§ 4. | hereby direct each covered entity to post a sign in a conspicuous place that is viewable by
prospective patrons prior to entering the establishment. The sign must alert patrons to the vaccination

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Emergency Executive Order 225, | City af New Yark

requirement in this Order and inform them that employees and patrons are required to be vaccinated.
The Department for Health and Mental Hygiene (“DOHMH”) shall determine the text of such sign and
provide a template on its website that a covered entity may use. A covered entity may use the sign
available online at nyc.gov/keytoNYC, or use its own sign provided its sign must be no smailer than 8.5
inches by 11 inches, with text provided by DOHMH in at least 14-point font.

§ 5. For the purposes of this Order:

a. “Contractor” means the owner and/or employees of any business that a covered entity has hired to
perform work within a covered premise, except that it shall not include nonresident owners and/or
employees.

b. “Covered entity” means any entity that operates one or more covered premises, except that it shall
not include pre-kindergarten through grade twelve (12) public and non-public schools and
programs, child care programs, senior centers, community centers, or as otherwise indicated by
this Order.

c. “Covered premises” means any location, except a location in a residential or office building the use
of which is limited to residents, owners, or tenants of that building, that is used for the following
purposes:

i.

iit.

Indoor Entertainment and Recreational Settings, including indoor portions of the following
locations, regardless of the activity at such locations: movie theaters, music or concert
venues, adult entertainment, casinos, botanical gardens, commercial event and party
venues, museums and galleries, aquariums, zoos, professional sports arenas and indoor
stadiums, convention centers and exhibition hails, performing aris theaters, bowling alleys,
arcades, indoor play areas, pool and billiard halls, and other recreational game centers;

ii. Indoor Food Services, including indoor portions of food service establishments offering food

and drink, including all indoor dining areas of food service establishments that receive letter
grades as described in section 81.51 of the Health Code; businesses operating indoor
seating areas of food courts; catering food service establishments that provide food indoors
on its premises; and any indoor portions of food service establishment that is regulated by
the New York State Department of Agriculture and Markets offering food for on-premises
indoor consumption. The requirements of this Order shail not apply to any food service
establishment offering food and/or drink exclusively for off-premises or oufdoor consumption,
or fo a food service establishment providing charitable food services such as soup kitchens;

indoor Gyms and Fitness Settings, including indoor portions of standalone and hotel gyms
and fitness centers, gyms and fitness centers in higher education institutions,
yoga/Pilates/barre/dance studios, boxing/kickboxing gyms, fitness boot camps, indoor pools,
CrossFit or other plyometric boxes, and other facilities used for conducting group fitness
classes.

d. “Indoor portion” means any part of a covered premises with a roof or overhang that is enclosed by
at least three walls, except that the following will not be considered an indoor portion: (1) a
structure on the sidewalk or roadway if it is entirely open on the side facing the sidewalk; and (2)
an outdoor dining structure for individual parties, such as a plastic dome, if it has adequate
ventilation to allow for air circulation.

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e. “Nonresident” means any individual who is not a resident of New York City.

f. “Patron” means any individual 12 years of age or older who patronizes, enters, attends an event,
or purchases goods or services within a covered premise.

g. “Identification” means an official document bearing the name of the individual and a photo or date
of birth. Examples of acceptable identification include but are not limited to: driver’s license, non-
driver government ID card, IDNYC, passport, and school |D card.

n, h. “Proof of vaccination” means proof of receipt of at least one dose of a COVID-19 vaccine
authorized for emergency use or licensed for use by the U.S. Food and Drug Administration or
authorized for emergency use by the World Health Organization. Such proof may be established

by:

i, A CDC COVID-18 Vaccination Record Card or an official immunization record from the
jurisdiction, state, or country where the vaccine was administered or a digital or physical
photo of such a card or record, reflecting the person’s name, vaccine brand, and date
administered; or

li. A New York City COVID Safe Pass (available to download on Apple and Android smartphone
devices); or

iii. A New York State Excelsior Pass.

§ 6. | hereby direct that each instance that a covered entity fails to check an individual’s vaccination
status shall constitute a separate violation of this Order.

§ 7. [hereby direct the City’s Commission on Human Rights to develop guidance to assist covered
entities in complying with this Order in an equitable manner consistent with applicable provisions of the
New York City Human Rights Law.

§ 8. | hereby direct, in accordance with Executive Law § 25, that staff from any agency as may hereafter
be designated by the DOHMH Commissioner shall enforce the directives set forth in this Order.

§ 9. | hereby direct that any person or entity who is determined to have violated this Order shall be
subject to a fine, penalty and forfeiture of not less than $1,000. If the person or entity is determined to
have committed a subsequent violation of this Order within twelve months of the initial violation for which
a penalty was assessed, such person or entity shall be subjeci to a fine, penalty and forfeiture of not less
than $2,000. For every violation thereafter, such person or entity shail be subject to a fine, penalty and
forfeiture of not less than $5,000 if the person or entity committed the violation within twelve months of
the violation for which the second penalty was assessed. This Order may be enforced pursuant to
sections 3.05, 3.07, and/or 3.11 of the Health Code and sections 558 and 562 of the Charter. | hereby
suspend Appendix 7-A of Chapter 7 of the Rules of the City of New York to the extent it would iimit a
violation of this Order to be punished with a standard penalty of $1,000 or a default penalty of $2,000.

§ 10, Covered entities shall comply with further guidelines issued by DOHMH to further the intent of this
Order and increase the number of vaccinated individuals in the City.

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§ 11., This Emergency Executive Order shall take effect on August 17, 2021, except for section 9 of this

Order, which shall take effect on September 13, 2021.

Bill de Blasio,
MAYOR

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EXHIBIT B
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Emergency Executive Order 226

August 20, 2021
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WHEREAS, the COVID-19 pandemic has severely impacted New York City and its economy, and is
addressed effectively only by joint action of the City, State, and Federal governments; and

WHEREAS, the state of emergency to address the threat and impacts of COVID-19 in the City of New
York first declared in Emergency Executive Order No. 98, and extended most recently by Emergency
Executive Order No. 220, remains in effect; and

WHEREAS, this Order is given because of the propensity of the virus to spread person-to-person, and
also because the actions taken to prevent such spread have led to property loss and damage;

WHEREAS, the U.S. Centers for Disease Control (“CDC”) reports that new variants of COVID-19,
classified as “variants of concern,” are present in the United States;

WHEREAS, some of these new variants currently account for the majority of COVID-19 cases
sequenced in New York City and are much more transmissible than earlier variants;

WHEREAS, the CDC has stated that vaccination is the most effective tool to mitigate the spread of
COVID-19 and protect against severe illness;

WHEREAS, the CDC has also stated that vaccination benefits both vaccine recipients and those with
whom they come into contact, including individuals who are ineligible for the vaccine due to age, health
or other conditions;

WHEREAS, the recent appearance in the City of the highly transmissible Delta variant of COVID-19 has
substantially increased the risk of infection;

WHEREAS, indoor entertainment, recreation, dining and fitness settings generally involve groups of
unassociated people interacting for a substantial period of time and requiring vaccination for all

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individuals in these areas, including workers, will protect the public health, promote public safety, and
' save the lives of not just those vaccinated individuals but the public at large;

WHEREAS, 56% of City residents are fully vaccinated and 62% of residents have received at least one
dose, and mandating vaccinations at the types of establishments that residents frequent will incentivize
vaccinations, increasing the City’s vaccination rates and saving lives; and

WHEREAS, a siudy by Yale University demonstraied that the City’s vaccination campaign was
estimated to have prevented about 250,000 COVID-19 cases, 44,000 hospitalizations and 8,300 deaths
from COVID-19 infection since the start of vaccination through July 1, 2021, and the City believes the
number of prevented cases, hospitalizations and death has risen since then; and that between January
1, 2021, and June 15, 2021, over 98% of hospitalizations and deaths from COVID-19 infection involved
those who were not fully vaccinated:

NOW, THEREFORE, pursuant to the powers vested in me by the laws of the State of New York and the
City of New York, including but not limited to the New York Executive Law, the New York City Charter
and the Administrative Code of the City of New York, and the common jaw authority to protect the public
in the event of an emergency: .

Section 1. | hereby direct that section 1 of Emergency Executive Order No. 224, dated Augusi 15, 2021,
is extended for five (5) days.

§ 2. | hereby direct that sections 1 through 11 of Emergency Executive Order No. 225, dated August 16,
2021 shall be superseded in their entirety by the following provisions:

1. This section shall be known as the Key to NYC program.

2, | hereby order that a covered entity shall not permit a patron, full- or part-time employee, intern,
volunteer, or contractor to enter a covered premises without displaying proof of vaccination and
identification bearing the same identifying information as the proof of vaccination.

3. | hereby order that the following individuals are exempted from this section, and therefore may
enter a covered premises without displaying proof of vaccination, provided that such individuals
wear a face mask at all times when they are unable to maintain six (6) feet of distance from other
individuals inside the covered premises:

a. Individuals entering for a quick and timited purpose (for example, using the restroom, placing
or picking up an order or service, changing clothes in a locker room, or performing necessary
repairs);

b. A nonresident performing artist not regularly employed by the covered entity, ora
nonresident individual accompanying such a performing artist, while the performing artist or
individual is in a covered premises for the purposes of such artist’s performance; and

c. Anonresident professional athlete/sports team that is not based in New York City (i.e., not a
New York City “home team’), or a nonresident individual accompanying such professional
athlete/sports team, who enters a covered premises as part of their regular employment for
purposes of the professional athlete/sports team competition.

4, | hereby direct each covered entity to develop and keep a written record describing the covered
entity's protocol for implementing and enforcing the requirements of this section. Such written
record shall be available for inspection upon a request of a City official as allowed by law.

5, | hereby direct each covered entity to post a sign in a conspicuous place that is viewable by
prospective patrons prior to entering the establishment, The sign must alert patrons to the
vaccination requirement in this section and inform them that empioyees and patrons are required
to be vaccinated. The Department for Health and Mental Hygiene (“DOHMH”) shall determine the

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text of such sign and provide a template on its website that a covered entity may use. A covered
‘entity may use the sign available online at nyc.gov/keytoNYC, or use its own sign provided its sign
must be no smaller than 8.5 inches by 11 inches, with text provided by DOHMH in at least 14-point
font.

6. For the purposes of this Order:

a. “Contractor” means the owner or employee of any business that a covered entity has hired to
perform work within a covered premise.

b. “Covered entity” means any entity that operates one or more covered premises, except that it
shall not include pre-kindergarten through grade twelve (12) public and non-public schools
and programs, houses of worship, child care programs, senior centers, community centers,
or as otherwise indicated by this Order.

c. “Covered premises” means any location, except a location in a residential or office building
the use of which is limited to residents, owners, or tenants of that building, that is used for the
following purposes:

i. Indoor Entertainment and Recreational Settings, including indoor portions of the
following locations, regardless of the activity at such locations: movie theaters, music or
concert venues, adult entertainment, casinos, botanical gardens, commercial event and
party venues, museums, aquariums, zoos, professional sports arenas and indoor
stadiums, convention centers and exhibition halls, performing aris theaters, bowling
alleys, arcades, indoor play areas, pool and billiard halls, and other recreational game
centers;

ii. Indoor Food Services, including indoor portions of food service establishments
offering food and drink, including all indoor dining areas of food service establishmenis
that receive letter grades as described in section 81.57 of the Health Code; businesses
operating indoor seating areas of food courts; catering food service establishments that
provide food indoors on its premises; and any indoor portions of an establishment that
is regulated by the New York State Department of Agriculture and Markets offering food
for on-premises indoor consumption. The requirements of this Order shall not apply to
any establishment offering food or drink exclusively for off-premises or outdoor
consumption, or to a food service establishment providing only charitable food services,
such as soup kitchens;

iii. Indoor Gyms and Fitness Settings, including indoor portions of standalone and hotei
gyms and fitness centers, gyms and fitness centers in higher éducation institutions,
yoga/Pilates/barre/dance studios, boxing/kickboxing gyms, fitness boot camps, indoor
pools, CrossFit or other plyometric boxes, and other facilities used for conducting group
fitness classes.

d. “Indoor portion” means any part of a covered premises with a roof or overhang that is
enclosed by at least three walls, except that the following will not be considered an indoor
portion: (1) a structure on the sidewalk or roadway if it is entirely open on the side facing the
sidewalk; and (2) an outdoor dining structure for individual parties, such as a plastic dome, if
it has adequate ventilation to allow for air circulation.

e. “Nonresident” means any individual who is not a resident of New York City.

f. “Patron” means any individual 12 years of age or older who patronizes, enters, attends an
event, or purchases goods or services within a covered premise.

g. “Identification” means an official document bearing the name of the individual and a photo or
date of birth. Examples of acceptable identification include but are not limited to: driver's
license, non-driver government ID card, IDNYC, passport, and schooi ID card.

h. “Proof of vaccination” means proof of receipt of at least one dose of a COVID-19 vaccine
authorized for emergency use or licensed for use by the U.S. Food and Drug Adminisiration

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Emergency Executive Order 226 | City of New York

or authorized for emergency use by the World Health Organization. Such proof may be
established by:

i. A CDC COVID-19 Vaccination Record Card or an official immunization record from the
jurisdiction, state, or country where the vaccine was administered or a digital or
physical photo of such a card or record, reflecting the person’s name, vaccine brand,
and date administered; or

li. A New York City COVID Safe Pass (available to download on Apple and Android
smartphone devices); or

lil. A New York State Excelsior Pass.

7. | hereby direct that each instance that a covered entity fails to check an individual’s vaccination
status shall constitute a separate violation of this section.

8. | hereby direct the City’s Commission on Human Rights to develop guidance to assist covered
entities in complying with this section in an equitable manner consistent with applicable provisions
of the New York City Human Rights Law.

9. | hereby direct, in accordance with section 25 of the Executive Law, that staff from any agency as
may hereafter be designated by the Commissioner of Health and Mental Hygiene shall enforce the
directives set forth in this section.

10. Notwithstanding any contrary provision of any subsequent emergency executive order continuing
this section:
a. | hereby direct that any person or entity who is determined fo have violated this section shall

be subject to a fine, penalty and forfeiture of not less than $1,000. If the person or entity is
determined to have committed a subsequent violation of this section within twelve months of
the initial violation for which a penalty was assessed, such person or entity shall be subject to
a fine, penalty and forfeiture of not less than $2,000. For every violation thereafter, such
person or entity shall be subject to a fine, penalty and forfeiture of not less than $5,000 if the
person or entity committed the violation within twelve months of the violation for which the
second penally was assessed. This section may be enforced pursuant to sections 3.05, 3.07,
or 3.11 of fhe Health Code and sections 558 and 562 of the Charter.

. [hereby suspend: (i) Appendix 7-A of Chapter 7 of Title 24 of the Rules of the City of New

York to the extent it would limit @ violation of this section to be punished with a standard
penalty of $1,000 or a default penalty of $2,000; and (ii) section 7-08 of such Chapter 7 and
section 3.11 of the Health Code, to the extent such provisions would limit the default penalty
amount that may be imposed for a violation of this section to $2,000.

11. 11. Covered entities shall comply with further guidelines issued by DOHMH to further the intent of
this section and increase the number of vaccinated individuals in the City.

§ 3. | hereby direct the Fire and Police Departments, the Department of Buildings, the Sheriff, and other
agencies as needed, to enforce the directives set forth in section 1 of this Order in accordance with their
lawful authorities, including Administrative Code sections 15-227(a), 28-105.10.1, and 28-201.1, and
section 107.6 of the Fire Code. Violations of the directives set forth in section 1 of this Order may be
issued as if they were violations under the Heaith Code sections 3.07 and 3.11, and enforced by the
Department of Health and Mental Hygiene or any other agency.

§ 4, This Emergency Executive Order shall take effect immediately, except that paragraph 10 of section
2 of this Order shall take effect on September 13, 2021.

Bill de Blasio,

MAYOR

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EXHIBIT C
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Emergency Executive Order 228

August 25, 2021
Download Emergency Executive Order 228

WHEREAS, the COVID-19 pandemic has severely impacted New York City and its economy, and is
addressed effectively only by joint action of the City, State, and Federal governments; and

WHEREAS, the state of emergency to address the threat and impacts of COVID-19 in the City of New
York first declared in Emergency Executive Order No. 98, and extended most recently by Emergency
Executive Order No. 220, remains in effect; and

WHEREAS, this Order is given because of the propensity of the virus to spread person-to-person, and
also because the actions taken to prevent such spread have led to property loss and damage;

WHEREAS, the U.S. Centers for Disease Control (“CDC”) reports that new variants of COVID-19,
classified as “variants of concern,” are present in the United States;

WHEREAS, some of these new variants currently account for the majority of COVID-19 cases
sequenced in New York City and are much more transmissible than earlier variants;

WHEREAS, the CDC has stated that vaccination is the most effective tool to mitigate the spread of
COVID-19 and protect against severe illness;

WHEREAS, the CDC has also stated that vaccination benefits both vaccine recipients and those with
whom they come into contact, including individuals who are ineligible for the vaccine due to age, health
or other conditions;

WHEREAS, the recent appearance in the City of the highly transmissible Delta variant of COVID-19 has
substantially increased the risk of infection;

WHEREAS, indoor entertainment, recreation, dining and fitness settings generally involve groups of
unassociated people interacting for a substantial period of time and requiring vaccination for all

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individuals in these areas, including workers, will protect the public heaith, promote public safety, and
save the lives of not just those vaccinated individuais but the public at large;

WHEREAS, 57% of City residents are fully vaccinated and 64% of residents have received at least one
dose, and mandating vaccinations at the types of establishments that residents frequent will incentivize
vaccinations, increasing the City’s vaccination rates and saving lives; and

WHEREAS, a study by Yale University demonstrated that the City’s vaccination campaign was
estimated to have prevented about 250,000 COVID-19 cases, 44,000 hospitalizations and 8,300 deaths
from COVID-19 infection since the start of vaccination through July 1, 2021, and the City believes the
number of prevented cases, hospitalizations and death has risen since then; and that between January
1, 2021, and June 15, 2021, over 98% of hospitalizations and deaths from COVID-19 infection involved
those who were not fully vaccinated;

NOW, THEREFORE, pursuant to the powers vested in me by the laws of the State of New York and the
City of New York, including but not limited to the New York Executive Law, the New York City Charter
and the Administrative Code of the City of New York, and the common law authority to protect the public
in the event of an emergency:

Section 1. | hereby direct that the State of Emergency declared in Emergency Executive Order No. 98,
dated March 12, 2020, and extended by subsequent orders, is extended for thirty (30) days.

§ 2. | hereby direct that section 1 of Emergency Executive Order No. 226, dated August 20, 2021, is
extended for five (5) days.

§ 3. | hereby direct that section 2 of Emergency Executive Order No. 226, dated August 20, 2021, shail
be superseded in its entirety by the provisions of section 4 of this Order.

§ 4. a. The program established by this section shall be known as the Key to NYC program.

b. | hereby order that, except as provided in subdivision c of this section, a covered entity shail not
permit a patron, full- or part-time employee, intern, volunteer, or contractor to enter a covered premises
without displaying proof of vaccination and identification bearing the same identifying information as the
proof of vaccination.

c. | hereby order that the following individuals are exempted from this section, and therefore may enter a
covered premises without displaying proof of vaccination, provided that such individuals wear a face
mask at all times when they are unable to maintain six (6) feet of distance from other individuals inside
the covered premises:

1. Individuals entering for a quick and limited purpose (for example, using the restroom, placing or
picking up an order or service, changing clothes in a locker room, or performing necessary
repairs);

2. A nonresident performing artist not reguiarly employed by the covered entity, or a nonresident
individual accompanying such a performing artist, while the performing artist or individual is in a
covered premises for the purposes of such artist's performance; and

3. A nonresident professional athlete/sports team that is not based in New York City (i.e., not a New
York City “home team’), or a nonresident individual accompanying such professional athlete/sports

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team, who enters a covered premises as part of their regular employment for purposes of the
professional athlete/sports team competition.

d. | hereby direct each covered entity to develop and keep a written record describing the covered
entity's protocol for implementing and enforcing the requirements of this section. Such written record
shall be available for inspection upon a request of a City official as allowed by law.i

e. | hereby direct each covered entity to post a sign in a conspicuous place that is viewable by
prospective patrons prior to entering the establishment. The sign must alert patrons to the vaccination
requirement in this section and inform them that employees and patrons are required to be vaccinated.
The Department for Health and Mental Hygiene (“DOHMH’) shail determine the text of such sign and
provide a template on its website that a covered entity may use. A covered entity may use the sign
available online at nyc.gov/keytoNYC, or use its own sign, provided its sign must be no smaller than 8.5
inches by 11 inches, with text provided by DOHMH in at least 14-point font.

f. For the purposes of this Order:

1. “Contractor” means the owner or employee of any business that a covered entity has hired to
perform work within a covered premise.

2. “Covered entity” means any entity that operates one or more covered premises, except that it shall
not include pre-kindergarten through grade twelve (12) public and non-public schools and
programs, houses of worship, child care programs, senior centers, community centers, or as
otherwise indicated by this Order.

3. “Covered premises” means any of the following locations, except as provided in paragraph iv of
this subsection:

i. Indoor Entertainment and Recreational Settings, including indoor portions of the following
locations, regardless of the activity at such locations: movie theaters, music or concert
venues, adult entertainment, casinos, botanical gardens, commercial event and party
venues, museums, aquariums, zoos, professional sports arenas and indoor stadiums,
convention centers and exhibition halls, performing arts theaters, bowling alleys, arcades,
indoor play areas, pool and billiard halls, and other recreational game centers;

ji. Indoor Food Services, including indoor portions of food service establishmenis offering food
and drink, including all indoor dining areas of food service establishments that receive letter
grades as described in section 81.51 of the Health Code; businesses operating indoor
seating areas of food courts; catering food service establishments that provide food indoors
on its premises; and any indoor portions of an establishment that is regulated by the New
York State Department of Agriculture and Markets offering food for on-premises indoor
consumption. The requirements of this Order shall not apply to any establishment offering
food or drink exclusively for off-premises or outdoor consumption, or to a food service
establishment providing only charitable food services, such as soup kitchens,

ili. Indoor Gyms and Fitness Settings, including indoor portions of standalone and hotel gyms
and fitness centers, gyms and fitness centers in higher education institutions,
yoga/Pilates/barre/dance studios, boxing/kickboxing gyms, fitness boot camps, indoor pools,
CrossFit or other plyometric boxes, and other facilities used for conducting group fitness
classes.

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‘iv. “Covered premises” do not include houses of worship or locations in a residential or office
building the use of which is limited to residents, owners, or tenants of that building.

4, “Indoor portion” means any part of.a covered premises with a roof or overhang that is enclosed by

at least three walls, except that the following will not be considered an indoor portion: (1) a
structure on the sidewalk or roadway if it is entirely open on the side facing the sidewalk; and (2)
an outdoor dining structure for individual parties, such as a plastic dome, if it has adequate
ventilation to allow for air circulation.

5. “Nonresident” means any individual who is not a resident of New York City.

§. “Patron” means any individual 12 years of age or older who patronizes, enters, attends an event,
or purchases goods or services within a covered premise.

7. “Identification” means an official document bearing the name of the individual and a photo or date
of birth. Examples of acceptable identification include but are not limited to: driver’s license, non-
driver government ID card, IDNYC, passport, and school !D card.

8. “Proof of vaccination” means proof of receipt of at least one dose of a COVID-19 vaccine
authorized for emergency use or licensed for use by the U.S. Food and Drug Administration or
authorized for emergency use by the World Health Organization. Such proof may be established
by:

i. (})} A CDC COVID-19 Vaccination Record Card or an official immunization record from the
jurisdiction, state, or country where the vaccine was administered or a digital or physical
photo of such a card or record, reflecting the person’s name, vaccine brand, and date
administered; or

ii. Gi) A New York City COVID Safe Pass (available to download on Apple and Android
smartphone devices); or

lil, (iii) A New York State Excelsior Pass.

g. | hereby direct that each instance that a covered entity fails to check an individual's vaccination status
shall constitute a separate violation of this section.

h. | hereby direct the City’s Commission on Human Rights to develop guidance to assist covered entities
in complying with this section in an equitable manner consistent with applicable provisions of the New
York City Human Rights Law.

1. | hereby direct, in accordance with section 25 of the Executive Law, that staff from any agency as may
hereafter be designated by the Commissioner of Health and Mental Hygiene shall enforce the directives
set forth in this section.

j. Notwithstanding any contrary provision of any subsequent emergency executive order continuing this
section:

1. [hereby direct that any person or entity who is determined to have violated the requirements of the
Key to NYC Program shall be subject to a fine, penalty and forfeiture of not jess than $1,000. If the

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person or entity is determined to have committed a subsequent violation of this section within
twelve months of the initial violation for which a penalty was assessed, such person or entity shall
be subject to a fine, penalty and forfeiture of not less than $2,000. For every violation thereafter,
such person or entity shall be subject to a fine, penalty and forfeiture of not less than $5,000 if the
person or entity committed the violation within twelve monihs of the violation for which the second
penalty was assessed. This section may be enforced pursuant io sections 3.05, 3.07, or 3.11 of the
Health Code and sections 558 and 562 of the Charter.

2. | hereby suspend: (i) Appendix 7-A of Chapter 7 of Title 24 of the Rules of the City of New York to
the extent it would limit a violation of this section to be punished with a standard penalty of $1,000
or a default penalty of $2,000; and (ii) section 7-08 of such Chapter 7 and section 3.11 of the
Health Cade, to the extent such provisions would limit the default penalty amount that may be
imposed for a violation of this section to $2,000.

k. Covered entities shall comply with further guidelines issued by DOHMH to further the intent of this
section and increase the number of vaccinated individuals in the City.

], Section 20-1271 of the Administrative Code of the City of New York is modified by adding the following
provision to the definition of “just cause:” Notwithstanding any provision of this chapter, a fast food
employer shall be deemed to have just cause when a fast food employee has failed to provide proof of
vaccination required by an emergency executive order issued in response to the COVID-19 pandemic
and shall not be required to follow progressive discipline procedures prior to terminating the employee,
provided that the employee shail have 30 days from the date when the empioyer notified the employee
of the requirement to submit such proof and the employee shail be placed on leave following such
notification until such proof is provided. This provision shall not excuse the employer from the
responsibility to provide a reasonable accommodation where required by law.

§ 5. Lhereby direct the Fire and Police Departments, the Department of Buildings, the Sheriff, and other
agencies as needed, to enforce the directives set forth in section 2 of this Order in accordance with their
lawful authorities, including Administrative Code sections 15-227(a), 28-105.10.1, and 28-201.1, and
section 107.6 of the Fire Code. Violations of the directives set forth in section 1 of this Order may be
issued as if they were violations under the Health Code sections 3.07 and 3.11, and enforced by the
Department of Health and Mental Hygiene or any other agency.

§ 6. This Emergency Executive Order shall take effect immediately, except that section 4(j) of this Order
shall take effect on September 13, 2021. The State of Emergency shail remain in effect for a period not
io exceed thirty (30) days or until rescinded, whichever occurs first. Additional declarations to extend the
State of Emergency for additional periods not to exceed thirty (30) days shall be issued if needed.

Bill de Blasio,
MAYOR

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EXHIBIT D

THe City of New Yor«
OFFICE OF THE MayYoR
New Yorn, N.Y 190007

EMERGENCY EXECUTIVE ORDER NO. 98
DECLARATION OF LOCAL STATE OF EMERGENCY
March 12, 2020
EMERGENCY EXECUTIVE ORDER
WHEREAS, there is currently an outbreak of novel coronavirus disease 2019 (“COVID-19"),
a respiratory illness, first detected in Wuhan City, Hubei Province, China, and it continues to expand
with a growing number of international locations, including the United States. A “novel coronavirus”

is a strain that has not been previously found in humans;

WHEREAS, on January 31, 2020, the United States Secretary of Health and Human Services
announced a nationwide public health emergency to respond to COVID-19;

WHEREAS, on March 1, 2020, the City of New York confirmed its first case of COVID-19;

WHEREAS, on March 11, 2020, the World Health Organization characterized COVID-19 as
a pandemic, the first ever pandemic caused by a coronavirus;

WHEREAS, COVID-19 has been detected in thousands of people worldwide and can be

spread from person to person. The City has been working to identify and test others in the City that
have potentially been exposed to COVID-19;

WHEREAS, this worldwide outbreak of COVID-19 is emerging and rapidly evolving;
WHEREAS, the number of confirmed cases of COVID-19 has risen steadily;

WHEREAS, the City and all of its agencies are prepared to respond to COVID-19 and are
committed to protecting the health and well-being of all New Yorkers;

WHEREAS, the City urges the public to stay home if they are ill and consult with their doctor
if they are experiencing more severe symptoms such as shortness of breath, are older adults, or are
any age with chronic medical conditions that increase the likelihood of more severe COVID-19
disease;
WHEREAS, the public is directed to call 311 if they are unable to contact a health provider to
seek care for any reason;

WHEREAS, the City recommends all New Yorkers follow the Centers for Disease Control’s
stringent guidance for cleaning and disinfection;

WHEREAS, the City is working closely and coordinating with its agency partners, including
the Metropolitan Transportation Authority and Port Authority of New York and New Jersey, as well
as State and Federal officials to ensure that it is prepared and ready to address any future cases of
COVID-19;

WHEREAS, the risk of community spread throughout New York City impacts the life and
health of the public and public health is imperiled by the person-to-person spread of COVID-19; and

WHEREAS, on March 7, 2020, New York State Governor Andrew Cuomo declared a State
disaster emergency for the entire State of New York to address the threat that COVID-19 poses to the
health and welfare of New York residents and visitors;

NOW, THEREFORE, pursuant to the powers vested in me by the laws of the State of New
York and the City of New York, including but not limited to the New York Executive Law, the
Charter and Administrative Code of the City of New York, and the common law authority to protect
the public in the event of an emergency, it is hereby ordered:

Section 1. State of Emergency. A state of emergency is hereby declared to exist within the
City of New York. .

Section 2. I hereby direct all agency heads, including Emergency Management, the
Department of Health and Mental Hygiene, Community Affairs, Fire, Police, Sanitation, Buildings
and Transportation to take all appropriate and necessary steps to preserve public safety and the health
of their employees, and to render all required and available assistance to protect the security, well-
being and health of the residents of the City.

Section 3. The State of Emergency shali remain in effect for a period not to exceed thirty days
or until rescinded, whichever occurs first. Additional declarations to extend the State of Emergency
for additional periods not to exceed thirty days will be issued if needed. The remainder of this Order
shail remain in effect for five (5) days unless terminated at an earlier date. This Order may be
extended for additional periods not to exceed five (5) days each during the pendency of the local state
of emergency. .

Section 4. This Executive Order shall take effect immediately.

